     Case 5:24-cv-03027-HLT-BGS           Document 24-5       Filed 07/12/24     Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS


LETECIA STAUCH,                                   )
                                                  )
                             Plaintiff,           )
v.                                                )
                                                  )      Case No. 24-3027-JWL
JEFF ZMUDA, et al.,                               )
                                                  )
                             Defendants.          )
                                                  )


                        DECLARATION OF LINDA HULL-VIERA

       Comes now, Linda Hull-Viera, and declares under the penalty of perjury as follows:

1.     I am currently employed by the Kansas Department of Corrections (“KDOC”) as the Unit

       Team Manager for the restrictive housing unit at the Topeka Correctional Facility

       (“TCF”). I have been employed in this position since June 26, 2023.

2.     In my capacity as a UTM, I oversee parole and release planning for residents nearing the

       completion of their sentences, manage security staff, and ensure restrictive housing is

       operating as a safe environment for staff and residents.

3.     I have been the Unit Team Manager for Letecia Stauch (#129417) since her arrival to

       TCF on August 14, 2023. I coordinate and manage the security personnel that oversee her

       and ensure that her health and welfare needs are being met.

4.     Ms. Stauch has been placed in 10 cells since her arrival at TCF.

5.     To my knowledge, Ms. Stauch has never been denied access to cleaning products.

6.     Residents are strongly encouraged to use cleaning supplies to maintain clean living

       environments since security staff must occasionally search cells. Doing so provides a



                                           Page 1 of 2
      Case 5:24-cv-03027-HLT-BGS          Document 24-5           Filed 07/12/24   Page 2 of 2




        safer and healthier environment for residents and for security personnel who conduct cell

        searches.

7.      I have not received an Approved Calling List Form from Ms. Stauch to add an attorney.

8.      I am aware of an informal message Ms. Stauch submitted on October 29, 2023, which

        sought to have an attorney added to her Approved Calling List that was responded to by a

        member of her unit team.

9.      On February 1, 2024, Ms. Stauch had access to her tablet taken away due to an

        investigation launched by TCF’s Enforcement, Apprehensions, and Investigations

        (“EAI”).

10.     The investigation focused on her selling a pair of her sweatpants to a third party over

        eBay.

11.     On May 1, 2024, Ms. Stauch regained electronic access to her tablet.

12.     Ms. Stauch was not denied access to her tablet or issued a disciplinary report for mailing

        gifts as a form of retaliation, but because she violated KDOC policy.

13.     Ms. Stauch has not filed a grievance or complaint alleging lengthy room searches are

        being performed out of retaliation. She has also not submitted anything claiming that her

        legal mail has been read during a cell search.

14.     The only lengthy cell search would not have been a search but a pack-out of her property

        when she was placed on Crisis Level.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

        Executed on:
                                                         /s/ Linda Hull-Viera


                                            Page 2 of 2
